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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

THOMAS HOEY, JR.,

                               Plaintiff,                          19-CV-4470 (CM)

                     -against-                        ORDER DIRECTING PAYMENT OF FEE
                                                      OR IFP APPLICATION AND PRISONER
COUNTY OF NEW YORK, et al.,                                    AUTHORIZATION

                               Defendants.

COLLEEN McMAHON, Chief United States District Judge:

       Plaintiff, currently incarcerated at the Metropolitan Detention Center in Brooklyn, New

York, brings this action pro se. To proceed with a civil action in this Court, a prisoner must either

pay $400.00 in fees – a $350.00 filing fee plus a $50.00 administrative fee – or, to request

authorization to proceed in forma pauperis (IFP), that is, without prepayment of fees, submit a

signed IFP application and a prisoner authorization. See 28 U.S.C. §§ 1914, 1915. If the Court

grants a prisoner’s IFP application, the Prison Litigation Reform Act requires the Court to collect

the $350.00 filing fee in installments deducted from the prisoner’s account. See 28 U.S.C.

§ 1915(b)(1). A prisoner seeking to proceed in this Court without prepayment of fees must

therefore authorize the Court to withdraw these payments from his account by filing a “prisoner

authorization,” which directs the facility where the prisoner is incarcerated to deduct the $350.00

filing fee 1 from the prisoner’s prison trust fund account in installments and to send to the Court

certified copies of the prisoner’s prison trust fund account statements for the past six months. See

28 U.S.C. § 1915(a)(2), (b).




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          The $50.00 administrative fee for filing a civil action does not apply to persons granted
IFP status under 28 U.S.C. § 1915.
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       Plaintiff submitted the complaint without the filing fees or a completed IFP application

and prisoner authorization. Within thirty days of the date of this order, Plaintiff must either pay

the $400.00 in fees or submit the attached IFP application and prisoner authorization form. If

Plaintiff submits the IFP application and prisoner authorization, they should be labeled with

docket number 19-CV-4470 (CM). 2

       The Clerk of Court is directed to assign this matter to my docket, mail a copy of this

order to Plaintiff, and note service on the docket. No summons shall issue at this time. If Plaintiff

complies with this order, the Court will process the case in accordance with the procedures of the

Clerk’s Office. If Plaintiff fails to comply with this order within the time allowed, the Court will

dismiss the action.

       The Court certifies under 28 U.S.C. § 1915(a)(3) that any appeal from this order would

not be taken in good faith, and therefore IFP status is denied for the purpose of an appeal. Cf.

Coppedge v. United States, 369 U.S. 438, 444–45 (1962) (holding that appellant demonstrates

good faith when seeking review of a nonfrivolous issue).

SO ORDERED.

 Dated:    June 19, 2019
           New York, New York

                                                            COLLEEN McMAHON
                                                        Chief United States District Judge




       2
          Plaintiff is cautioned that if a prisoner files an action that is dismissed as malicious or
frivolous or for failure to state a claim on which relief can be granted, the dismissal is a “strike”
under 28 U.S.C. § 1915(g). A prisoner who receives three “strikes” cannot file federal civil
actions IFP as a prisoner, unless he is under imminent danger of serious physical injury, and must
pay the relevant fee at the time of filing any new federal civil action.

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